                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                          WESTERN DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,                       No. 10-CR-4007-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
BRITTANY K. REYNOLDS,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                  I.    INTRODUCTION AND BACKGROUND

      On January 27, 2010, a six count Indictment (Docket No.

3) was returned in the above-referenced case.                     Count 4 and

Count 5 are the only Counts of this Indictment applicable to

Defendant Brittany K. Reynolds.

      Count 4 of the Indictment charges that on or about

February 8, 2009, in the Northern District of Iowa, a co-

defendant and Defendant Brittany K. Reynolds, did knowingly

and intentionally distribute and did aid and abet another or

others   in    the     distribution   of   a     mixture         or     substance

containing a detectable amount of cocaine which contained

cocaine base, commonly called “crack cocaine,” a Schedule II

controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1), 841(b)(1)(C), and 851 and Title 18,

United States Code, Section 2.



   Case 5:10-cr-04007-DEO-LTS   Document 50     Filed 05/14/10        Page 1 of 4
    Count 5 charges that on or about February 8, 2009, in the

Northern   District    of   Iowa,     a    co-defendant      and     Defendant

Brittany     K.   Reynolds,     did       knowingly   and        intentionally

distribute and did aid and abet another or others in the

distribution of a mixture or substance containing a detectable

amount of cocaine which contained cocaine base, commonly

called “crack cocaine,” a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(C), and 851 and Title 18, United States Code,

Section 2.

    On April 2, 2010, Defendant Brittany K. Reynolds appeared

before Chief United States Magistrate Judge Paul A. Zoss and

entered a plea of guilty to Counts 4 and 5 of the Indictment.

In the Report and Recommendation (Docket No. 41, 04/05/2010),

Chief United States Magistrate Judge Paul A. Zoss recommends

that defendant Brittany K. Reynolds’s guilty plea be accepted.

No objections to Judge Zoss’s Report and Recommendation were

filed.   The Court, therefore, undertakes the necessary review

to accept Defendant Brittany K. Reynolds’s plea in this case.




                                      2


   Case 5:10-cr-04007-DEO-LTS   Document 50     Filed 05/14/10     Page 2 of 4
                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).




                                    3


   Case 5:10-cr-04007-DEO-LTS   Document 50   Filed 05/14/10   Page 3 of 4
       In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

       IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief    Magistrate    Judge      Zoss’s    Report    and    Recommendation

(Docket No. 41), and accepts Defendant Brittany K. Reynolds’s

plea    of   guilty   in   this   case     to   Counts   4   and     5   of      the

Indictment filed on January 27, 2010, (Docket No. 3).

       IT IS SO ORDERED this 14th day of May, 2010.


                                    __________________________________
                                    Donald E. O’Brien, Senior Judge
                                    United States District Court
                                    Northern District of Iowa




                                      4


   Case 5:10-cr-04007-DEO-LTS     Document 50    Filed 05/14/10    Page 4 of 4
